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           EXHIBIT 2
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Governski, Meryl Conant

From:                             Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
Sent:                             Friday, August 5, 2022 12:49 PM
To:                               'Joe Sibley'
Cc:                               Gottlieb, Michael; Governski, Meryl Conant; john.langford@protectdemocracy.org;
                                  Knoblett, John Tyler
Subject:                          RE: Freeman v. Giulaini - Discovery


Joe,

Thank you for the update. We look forward to receiving the productions and hearing about the status of the files.

Thanks,
Annie


M.Annie Houghton-Larsen
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8164 | Fax: +1 212 728 9164
mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
Pronouns: she, her, hers

From: Joe Sibley <sibley@camarasibley.com>
Sent: Friday, August 5, 2022 12:37 PM
To: Houghton‐Larsen, M Annie <MHoughton‐Larsen@willkie.com>
Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>;
john.langford@protectdemocracy.org; Knoblett, John Tyler <JKnoblett@willkie.com>
Subject: Re: Freeman v. Giulaini ‐ Discovery

                                           *** EXTERNAL EMAIL ***

It appears that Giuliani has recently had his electronic devices returned. Therefore, we will not need to involve
the special master.

I need to assess the issues of whether files were damaged during the DOJ's extraction process.

However, we will apply the search terms outlined in your letter dated today and see what can be done to pull
any responsive, non-privileged documents from these devices. I will let you know as soon as I can.

Best,

Joe

On Tue, Aug 2, 2022 at 11:10 AM Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com> wrote:

 Mr. Sibley,



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I sent you the email below on July 12, 2022 requesting a “date certain when you will connect us with the
Special Master so we may begin this process promptly.” That email followed your representation during a
meet and confer on July 6, 2022 that you would promptly reach out to the Special Master, copying Plaintiffs’
counsel and counsel for Plaintiff in Dominion, to begin a coordinated process of getting discovery responsive
to Plaintiffs’ discovery requests.



As of today’s date, you have neither provided a date certain nor emailed the Special Master copying Plaintiffs’
counsel to initiate this process. We expect that you will connect us with the Special Master no later than
the end of this week.



During the July 6 conferral, you confirmed that Mr. Giuliani had not yet provided any information to the
Special Master regarding Plaintiffs’ first discovery requests or in response to any discovery requests in
Dominion. If that has changed, promptly let us know.



You also explained that Plaintiffs may provide search terms and date ranges to the Special Master in order to
obtain discovery of those documents for a nominal cost. Plaintiffs plan to promptly provide search terms to
assist in this process as soon as connected with the Special Master.



Plaintiffs reserve all rights.



Thank you,

Annie




M.Annie Houghton-Larsen
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8164 | Fax: +1 212 728 9164
mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
Pronouns: she, her, hers


From: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
Sent: Tuesday, July 12, 2022 12:45 PM
To: 'sibley@camarasibley.com' <sibley@camarasibley.com>
Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>;
john.langford@protectdemocracy.org; Knoblett, John Tyler <JKnoblett@willkie.com>
Subject: Freeman v. Giulaini - Discovery


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Mr. Sibley,



We hope Mr. Giuliani is recovering from his surgery and wish him a speedy recovery. Thank you for the
productive meet and confer last week (7/6/2022) regarding Mr. Giuliani’s responses to Plaintiffs’ propounded
discovery, which we served on May 20, 2022 and to which responses were initially due on June 21, 2022, but
were ultimately returned on June 28, 2022 per your request for a week-long extension. We will send a fulsome
letter noting deficiencies in Mr. Giuliani’s current responses, but wanted to follow-up on a few specific action
items from last weeks’ conferral.



First Production

You represented on our call that you would produce every document that Defendant Giuliani has produced in
U.S. Dominion, Inc. v. Herring Networks, Inc. and to the January 6 Committee—which you estimated would
be approximately 7,000 documents—in the “next 1-2 days.” We have not received any documents in response
to any of the 19 Requests for Production (RFPs) that Plaintiff propounded on Defendant Giuliani. We also
have not received the discovery requests subsequent to which those materials were produced and the responses
to the same. Please provide a date certain when do you will to make Defendant Giuliani’s initial
production. Relatedly, you mentioned on the call that the materials were collected from multiple
custodians. Please confirm that the documents produced will include metadata that allows Plaintiffs to
identify the custodian.



Documents Held By Special Master

You confirmed that Mr. Giuliani’s electronic devices and various documents seized by the Department of
Justice are accessible via a Special Master with whom there is an established process in place to run search
terms, select date ranges, and specify custodians. You confirmed that you had not yet provided any
information to the Special Master regarding any of Plaintiffs’ propounded discovery but that you would
promptly reach out to the Special Master, cc’ing us and counsel in Dominion, in order to begin the process. To
date, we have not seen that email to the Special Master and are not aware of any efforts Mr. Giuliani has taken
to search those repositories for materials responsive to Plaintiffs’ served discovery. Please provide a date
certain when you will connect us with the Special Master so we may begin this process promptly. We
will prepare search terms likely to lead to responsive information, and reserve rights to add additional terms as
discovery continues.



Amended Interrogatories

On the call, we discussed generally the deficiencies in Defendant Giuliani’s responses to the 6 Interrogatories
Plaintiffs served on Mr. Giuliani, including various statements therein referencing an intent to amend. We look
forward to receiving the amended interrogatory responses that you committed to providing by July 22,
2022. Plaintiffs reserve all rights.

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Thanks,

Annie




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Willkie Farr & Gallagher LLP
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Direct: +1 212 728 8164 | Fax: +1 212 728 9164
mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
Pronouns: she, her, hers




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